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                                                UNITED STATES DISTRICT COURT
                                                       Eastern District of New York
           UNITED STATES OF AMERICA                                   Presiding Judge: ______________________________________
                                                                                       Joanna Seybert, Senior U.S.D.J.
                        -v-                                           Case No(s).:     ______________________________________
                                                                                       23-cr-0197-JS-AYS
      ______________________________________
            George Anthony Devolder Santos                            Date:            ____________
                                                                                       1/23/2024
                                                                      Start Time:      ____________
                                                                                       10:40 AM     Total Time: _______________
                                                                                                                5 mins.

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                                     SEALED PROCEEDING: ☐ Yes ☐
                                                                              ✔No

I. APPEARANCES:

Defendant (# ____
              1 ): ________________________________________
                   George Anthony Devolder Santos                     Counsel: ___________________________________________________
                                                                               Joseph Murray, Andrew Mancilla, Robert Fantone, Jr.
☐
✔Present ☐ Not Present ☐ In Custody ☐
                                    ✔On Bond ☐ Surrendered            ☐
                                                                      ✔Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________         Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered          ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Government:           _________________________________________
                      Ryan Harris, John Taddei, Anthony Bagnuola      Interpreter(s):    ___________________________________________
                      _________________________________________       Language:          ____________________
Pretrial Services:    _________________________________________       Court Reporter(s): ___________________________________________
                                                                                         Marie Foley
Probation Dept.:      _________________________________________                          ___________________________________________
Other Appearances: _________________________________________          FTR Time(s):       ___________________________________________
                      _________________________________________       Courtroom Deputy: ___________________________________________
                                                                                        Eric L. Russo
                      _________________________________________

II. PROCEEDINGS HELD:

☐
✔In-Person                     ☐ Arraignment (pg. 2)             ☐ Fatico Hearing (pg. 4)          ☐ Motion Hearing (pg. 4)
☐ By Telephone                 ☐ Bond Hearing (pg. 5)            ☐ Initial Appearance (pg. 2)      ☐ Plea Hearing (pg. 3)
☐ By Video                     ☐ Curcio Hearing (pg. 2)          ☐ Jury Deliberations (pg. 3)      ☐ Sentencing/Re-Sentencing (pg. 4)
                               ☐ Detention Hearing (pg. 5)       ☐ Jury Selection (pg. 3)          ☐
                                                                                                   ✔ Status/Pre-Trial Conference (pg. 2)
                               ☐ Evidentiary Hearing (pg. 4)     ☐ Jury Trial (pg. 3)

☐ Other Proceeding: ________________________________________
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III. SUMMARY OF THE PROCEEDINGS:

☐ Arraignment held as to the charge(s) outlined in the ___________________________________________________________________________.
   ☐ This was an initial appearance before this Court by Defendant ________.
   ☐ Defendant ________ waived Indictment.
       ☐ Waiver of Indictment executed by Defendant ________.
   ☐ Defendant ________ waived the public reading of the charging instrument.
   ☐ Defendant ________ was advised of, and acknowledged, the charges outlined in the charging instrument.
   ☐ The Government was advised of, and acknowledged, its obligation under Rule 5(f) of the F.R.Cr.P. and the Due Process Protections Act.
       ☐ A written order will be entered fully describing this obligation and the possible consequences of failing to meet it.
   ☐ Defendant ________ entered a plea of NOT GUILTY as to all counts of the charging instrument.
   ☐ Defendant ________ waived Speedy Trial from __________ to __________ pursuant to ______________________.
     (For Internal Use Only: Excludable Code = ____________________________________.)
   ☐ Defendant ________ did not waive Speedy Trial.
       ☐ Speedy Trial was ordered waived for Defendant ________ from __________ to __________ pursuant to ______________________.
         (For Internal Use Only: Excludable Code = ____________________________________.)
   ☐ The Court deems (or previously deemed) this case COMPLEX.
       ☐ Speedy Trial was ordered waived for Defendant ________ from __________ to __________ pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii).
         (For Internal Use Only: Excludable Code = XT - Interest of Justice .)
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Curcio Hearing held as to Defendant ________.
   ☐ Attorney _________________________ (☐ Federal Defender; ☐ CJA) was appointed to represent the defendant for purposes of this hearing.
   ☐ The parties presented their oral arguments to the Court.
   ☐ The defendant was informed of the potential dangers arising from any conflicts of interest with current defense counsel.
   ☐ The defendant acknowledged and waived any potential conflicts of interest and wishes to proceed with current defense counsel.
   ☐ The defendant requested that current counsel be relieved and:
       ☐ that the defendant will retain new counsel.
          ☐ The defendant must retain new counsel by __________; or within ____________________ of this hearing.
      ☐ that the Court appoint new counsel.
          ☐ The defendant completed and filed the CJA 23 Financial Affidavit for the Court’s review.
   ☐ The Court’s decision: ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was RESERVED.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐
✔Status Conference/Pre-Trial Conference held as to the
                                                    ____________________________________________________________________________.
                                                        charges outlined in the Superseding Indictment (S-1) filed on 10/10/2023
  ☐ This was an initial appearance before this Court by Defendant ________.
  ☐
  ✔The parties advised the Court of the status of the case.
  ☐ Defendant ________
  ✔                 1     waived Speedy Trial from __________
                                                       1/23/2024 to __________
                                                                        8/13/2024 pursuant to 18
                                                                                              ______________________.
                                                                                                 U.S.C. § 3161(h)(7)
     (For Internal Use Only: Excludable Code = ____________________________________.)
                                                 XT - Interest of Justice
  ☐ Defendant ________ did not waive Speedy Trial.
      ☐ Speedy Trial was ordered waived for Defendant ________ from __________ to __________ pursuant to ______________________.
         (For Internal Use Only: Excludable Code = ____________________________________.)
  ☐ The Court deems (or previously deemed) this case COMPLEX.
      ☐ Speedy Trial was ordered waived for Defendant ________ from __________ to __________ pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii).
         (For Internal Use Only: Excludable Code = XT - Interest of Justice .)
  ☐
  ✔The Court deems (or previously deemed) this case TRIAL READY.
      ☐ The Court set the following pre-trial submission schedule:
          ☐ All 3500 material and 404(b) evidence:                             due by: __________.
          ☐ Motion(s) in Limine and all supporting papers:                     due by: __________.
          ☐ Opposition(s) to Motions in Limine and all supporting papers: due by: __________.
          ☐ Reply(ies) to Motions in Limine and all supporting papers:         due by: __________.
          ☐ Proposed Voir Dire questions and case summary:                     due by: __________.
          ☐ Proposed exhibit and witness list:                                 due by: __________.
          ☐ Proposed Jury Charge and Verdict Sheet:                            due by: __________.
          ☐ The Court WILL NOT grant any extensions of the deadlines set forth above.
          ☐ The parties are directed to submit courtesy copies of their submissions to Chambers in accordance with the Court’s Individual Rules.
      ☐ The parties were directed to file a proposed pre-trial submission schedule on or before __________.
      ☐ The Court will enter a separate order outlining the pre-trial submission schedule.
  ☐
  ✔See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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☐ Plea Hearing held as to count(s) __________ of the __________-count ___________________________________________________________.
   ☐ The defendant was advised of, and acknowledged, the constitutional rights that will be waived when entering a plea of guilty.
   ☐ The defendant withdrew previously entered not guilty plea and entered a plea of GUILTY to the above referenced count(s).
   ☐ Court found that the there is a factual basis for the guilty plea and ACCEPTED the defendant’s plea of guilty.
   ☐ An Order of Forfeiture was executed.
   ☐ The parties consented to hold the preparation of the Presentence Investigation Report in ABEYANCE.
   ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
   ☐ The parties waived the preparation of the Presentence Investigation Report.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Selection (Voir Dire) held.
   ☐ The prospective jurors were sworn and given preliminary instructions by the Court.
   ☐ The prospective jurors were asked questions touching upon their qualifications to serve as jurors.
   ☐ ____________ moved for a Batson Challenge as to Juror ________.
       ☐ The parties presented their oral arguments to the Court.
       ☐ The Court made the following ruling: ☐ Motion GRANTED, the juror was excused; ☐ Motion DENIED, the juror remained on the panel.
   ☐ A jury of ____, with ____ alternates, were selected and are satisfactory to all parties.
       ☐ The Court ordered the jury to be: ☐ anonymous; ☐ sequestered; ☐ semi-sequestered.
   ☐ The selected jurors were sworn as trial jurors.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Trial held.
   ☐ A jury of ____, with ____ alternates, were previously selected by _____________________________ and are satisfactory to all parties.
   ☐ The selected jurors were sworn as trial jurors.
   ☐ The jurors were given preliminary instructions by the Court.
   ☐ Opening statements were heard from the: ☐ Government; ☐ Defense Counsel.
   ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
   ☐ Exhibit(s) were entered into evidence.
   ☐ The Government rested its case.
   ☐ The defense rested its case.
   ☐ A Charge Conference was held with the Court and counsel.
   ☐ Summations were heard from the: ☐ Government; ☐ Defense Counsel; ☐ Government (Rebuttal).
   ☐ The Court charged the jury.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Deliberations held.
   ☐ The U.S. Marshal/Court Security Officer was sworn to monitor the jurors during deliberations.
   ☐ Jury Notes were received and marked as Court Exhibits.
   ☐ The Court instructed the jury to continue their deliberations pursuant to Allen v. United States (Allen Charge).
   ☐ The jury rendered the following verdict:
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
   ☐ The jurors were polled as to their verdict.
   ☐ The Verdict Sheet was received and marked as a Court Exhibit.
   ☐ The Court charged the jury on the forfeiture allegation count(s) and instructed them to continue their deliberations.
       ☐ Jury Notes were received and marked as Court Exhibits.
       ☐ The jury rendered their verdict regarding the forfeiture allegation count(s).
       ☐ The jurors were polled as to their verdict.
       ☐ The Special Verdict Sheet was received and marked as a Court Exhibit.
   ☐ The jurors, including alternates, were excused with the thanks of the Court.
   ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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☐ Evidentiary Hearing/Motion Hearing/Fatico Hearing held.
   ☐ Hearing held regarding _______________________________________________________________________________________________.
   ☐ The parties presented their oral arguments to the Court.
   ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
   ☐ Exhibits were entered into evidence.
   ☐ The following briefing schedule was set:
      ☐ ____________ shall serve the motion and all supporting papers:                            due by: __________.
      ☐ ____________ shall serve the opposition to the motion and all supporting papers:          due by: __________.
      ☐ ____________ shall serve the cross-motion and all supporting papers:                      due by: __________.
      ☐ ____________ shall serve the reply and all supporting papers:                             due by: __________.
      ☐ ____________ shall serve the opposition to the cross motion and all supporting papers: due by: __________.
      ☐ ____________ shall serve the reply to the cross motion and all supporting papers:         due by: __________.
      ☐ The Court WILL NOT grant any extensions of the deadlines set forth above.
      ☐ The parties are directed to submit courtesy copies of their motion papers to Chambers in accordance with the Court’s Individual Rules.
   ☐ The parties were directed to file a proposed briefing schedule on or before __________.
   ☐ The Court will enter a separate order outlining the briefing schedule.
   ☐ The Court made the following ruling(s): ☐ Motion GRANTED; ☐ Motion DENIED; ☐ Motion GRANTED, in part.
   ☐ The Court’s decision: ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was RESERVED.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Sentencing/Re-Sentencing held as to count(s) __________ of the __________-count _________________________________________________.
   ☐ The parties advised the Court that there are no objections to the Presentence Investigation Report.
   ☐ Objections to the Presentence Investigation Report were outlined on the record by: ☐ the Government; ☐ Defense Counsel.
   ☐ The Court adopted the Presentence Investigation Report without change.
   ☐ Changes to the Presentence Investigation Report were outlined on the record by the Court.
   ☐ Oral presentations to the Court were made by: ☐ Defense Counsel; ☐ the defendant; ☐ the Government; ☐ the victim(s); ☐ _____________.
   ☐ The defendant was sentenced to IMPRISONMENT for a total term of _________________________________________________________.
       ☐ Upon release, the defendant shall be on SUPERVISED RELEASE for a total term of _________________________.
          ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
               ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
          ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
       ☐ The Court did not impose a term of Supervised Release.
   ☐ The defendant was sentenced to PROBATION for a total term of _________________________.
       ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
          ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
       ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
   ☐ The defendant must pay the following criminal monetary penalties:
       ☐ RESTITUTION in the amount of:                          $ ________________; (☐ An Order of Restitution was executed.)
       ☐ A FINE in the amount of:                               $ ________________.
       ☐ A SPECIAL ASSESSMENT fine in the amount of: $ ________________.
       ☐ An AVAA ASSESSMENT fine in the amount of: $ ________________.
       ☐ A JVTA ASSESSMENT fine in the amount of:               $ ________________.
   ☐ The interest requirement on any of the criminal monetary penalties:
       ☐ was ordered on the amounts of more than $2,500.00.
       ☐ was modified by the Court.
       ☐ was waived/not ordered/not applicable.
   ☐ Restitution: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
   ☐ A fine and/or other assessment: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
   ☐ The determination of Restitution and/or a fine was deferred pending further proceedings or by further motion to the Court.
   ☐ All other conditions shall remain in effect as previously ordered and outlined in the judgment dated __________.
   ☐ The Order of Forfeiture dated __________ was adopted as the Final Order of Forfeiture and will be included as part of the judgment.
   ☐ A Final Order of Forfeiture was executed and will be included as part of the judgment.
   ☐ The defendant’s right to appeal the Court’s sentence:
       ☐ was waived (pursuant to the Plea/Cooperation Agreement, or as stated on the record).
       ☐ was preserved. The defendant has the right to file an appeal within fourteen (14) days of the date that the judgment is entered, not filed.
   ☐ All open counts in the charging instrument(s) were dismissed on the motion of the United States.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
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IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:

☐ Bond Hearing/Detention Hearing held.
   ☐ Defendant ________ did not present a bond application to the Court.
      ☐ An Order of Detention was executed as to Defendant ________.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ________.
   ☐ The bond application/modification was GRANTED as to Defendant ________.
      ☐ An Order Setting Conditions of Release and Bond was executed as to Defendant ________.
      ☐ The conditions of release were modified as to Defendant ________, as stated on the record.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ The bond application/modification was DENIED as to Defendant ________.
      ☐ An Order of Detention was executed as to Defendant ________.
   ☐ The Government moved for immediate detention of Defendant ________.
      ☐ The motion was: ☐ GRANTED; ☐ DENIED; ☐ GRANTED, in part.
      ☐ An Arrest Warrant was executed as to Defendant ________.
      ☐ An Order of Detention was executed as to Defendant ________.
      ☐ The conditions of release were modified as to Defendant ________, as stated on the record.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ The decision regarding the bond or detention application was RESERVED.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ________.
      ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

For a defendant currently IN-CUSTODY:

    ☐ Defendant ________ remain(s) in custody.

    ☐ The following orders were executed and shall be forwarded to the U.S. Marshals Service and/or the Federal Bureau of Prisons:
       ☐ A Medical Evaluation Order as to Defendant ________.
       ☐ A Competency Order as to Defendant ________.
       ☐ A Force Order as to Defendant ________.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to sentencing/re-sentencing), shall be RELEASED, FORTHWITH.
       ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
       ☐ The defendant will be under supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.
       ☐ The defendant will not serve a term of Supervised Release.

For a defendant currently AT LIBERTY:

    ☐
    ✔Defendant ________
                  1     remain(s) on bond.

    ☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall be IMMEDIATELY REMANDED to the custody of the U.S.
    Marshals Service and/or the Federal Bureau of Prisons.

    ☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall surrender for the service of the sentence before 2:00 PM on __________
    at the institution designated by the Federal Bureau of Prisons. The defendant will REMAIN AT LIBERTY and under supervision of the Pretrial
    Services Department until the ordered surrender date.
         ☐ The U.S. Marshals Voluntary Surrender form was executed.
         ☐ Any motion to extend the surrender date must be made at least a thirty (30) days prior to the ordered surrender date.
         ☐ The defendant was advised that there will be no extensions of the surrender date.

    ☐ The defendant, being sentenced to a TERM OF PROBATION, will REMAIN AT LIBERTY and under supervision of the U.S. Probation
    Department until the completion of the ordered term of Probation.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released), shall REMAIN AT LIBERTY and under
    supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released as well as time under supervision), shall be released
    from all conditions of supervision, forthwith.
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V. FURTHER PROCEEDINGS SET:

☐ No further proceedings have been set at this time.

☐ Bond Hearing:                     For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Curcio Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Detention Hearing:                For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Evidentiary Hearing:              For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Fatico Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐
✔Jury Selection:                    For Defendant ______
                                                    1    set for _________
                                                                  9/9/2024 at _________
                                                                               9:30 AM before ________________________________;
                                                                                              Judge Joanna Seybert              _____________________.
                                                                                                                                In Courtroom 287

☐ Jury Trial:                       For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Motion Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Plea Hearing:                     For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐
✔Pre-Trial Conference:              For Defendant ______
                                                    1    set for _________
                                                                 8/13/2024 at _________
                                                                              10:30 AM before ________________________________;
                                                                                              Judge Joanna Seybert              _____________________.
                                                                                                                                In Courtroom 1030

☐ Sentencing/Re-Sentencing: For Defendant ______ set for _________ at _________ before ________________________________; _____________________.
   ☐ Sentencing Memoranda Deadlines:
       ☐ The Government’s sentencing memorandum is due by: __________.
       ☐ The defendant’s sentencing memorandum is due by: __________.
       ☐ The parties are directed to submit courtesy copies of their sentencing memorandums to Chambers in accordance with the Court’s Individual
       Rules. If a party chooses to proceed without filing a sentencing memorandum, a letter to the Court advising as such must be filed on said due
       date, in lieu of the memorandum. PARTIES ARE ON NOTICE that once their sentencing memorandums are filed, further sentencing
       submissions will not be accepted without prior, written, Court approval.
   ☐ All sentencing memorandums have been filed. Further sentencing submissions will not be accepted without prior, written, Court approval.
   ☐ The Government waived the filing of a sentencing memorandum and reserved the right to make an oral presentation at sentencing.
   ☐ Defense counsel waived the filing of a sentencing memorandum and reserved the right to make an oral presentation at sentencing.

☐ Status Conference:                For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ The Court ordered the proceeding(s) above to be held via the Court’s teleconferencing system. Parties are directed to dial the following telephone
number at the designated time: 877-336-1839, access code 7231185.

☐ The Court ordered the proceeding(s) above to be held by video, via ZoomGov. The parties on the case will be sent a separate notice by the Courtroom
Deputy with instructions on how to log into the video meeting as the scheduled date approaches.

☐ Further instructions regarding the proceeding(s) set:
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VI. OTHER RULINGS MADE DURING THE PROCEEDINGS:

☐ The record of this proceeding was deemed SEALED. Transcripts of this proceeding can be made available to the Court, the defendant(s), defense
counsel, and the Government ONLY. Any other non-party must file a written request to the Court for permission to receive a copy of the transcripts.

☐
✔The Court made the following rulings:
    - The Court adopted the pre-trial submission schedule as outlined in the parties joint letter filed on 1/22/2024 (see DE 58).




VII. ADDITIONAL RULINGS:

☐ The Court makes the following additional rulings (not addressed during the proceedings):
